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                                                                  United States Bankruptcy Court
                                                            District of Massachusetts, Worcester Division

       IN RE:                                                                                          Case No.
       Monson, David                                                                                   Chapter 13
                                                             Debtor(s)

                                                            VERIFICATION OF CREDITOR MATRIX
       The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.



       Date: February 16, 2023                              Signature: /s/ David Monson
                                                                         David Monson                                                 Debtor



       Date:                                                Signature:
                                                                                                                          Joint Debtor, if any




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   American Express Centurion Bank
   PO Box 3001
   Malvern, PA 19355-0701


   American Express Centurion Bank
   c/o Becket and Lee LLP
   PO Box 3001
   Malvern, PA 19355-0701


   Amex
   PO Box 297871
   Fort Lauderdale, FL       33329-7871


   Bendett & McHough Attorneys at Law
   160 Farmington Ave
   Farmington, CT 06032-1728


   Bk of Amer
   PO Box 982238
   El Paso, TX 79998-2238


   Bk of Amer
   4909 Savarese Cir
   Tampa, FL 33634-2413


   Blackstone DPW
   53 Elm St
   Blackstone, MA       01504-1343
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   Blackstone Gas Co.
   61 Main St
   Blackstone, MA 01504-2215


   Boston Medical Associates, Inc.
   358 Harvard St
   Brockton, MA 02301


   Capital One Bank USA N
   15000 Capital One Dr
   Richmond, VA 23238-1119


   Chase Card
   PO Box 15298
   Wilmington, DE       19850-5298


   Civil process clerk - US Atty
   1 Courthouse Way Ste 9200
   Boston, MA 02210-3011


   Comcast
   4120 International Pkwy
   Carrollton, TX 75007-1957


   Commonwealth of Mass
   51 Sleeper St
   Boston, MA 02210-1276
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   Commonwealth of Massachusetts
   Dept. Unemployment, ATTN: Chief Counsel
   19 Staniford St Fl 1
   Boston, MA 02114-2502


   Credit One Bank NA
   PO Box 98872
   Las Vegas, NV 89193-8872


   David T. Mazzuchelli
   MA Dept. Of Revenue, Litigation Bureau P
   PO Box 9565
   Boston, MA 02114-9565


   Eastern Security Finance, Inc
   2000 Diamond Hill Rd Ste 19
   Woonsocket, RI 02895-1554


   Eversource
   PO Box 660369
   Dallas, TX 75266-0369


   Internal Revenue Service
   PO Box 7346
   Philadelphia, PA 19101


   Jeffrey J. Hardiman
   Brock and Scott PLLC
   1080 Main St Ste 200
   Pawtucket, RI 02860-4847
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   LVNV Funding, LLC its successors and as
   Resurgent Capital Services
   PO Box 10587
   Greenville, SC 29603-0587


   Mark Rizoli
   90 Adin St
   Hopedale, MA     01747-1216


   Mass Dept Of Revenue
   19 Staniford Street
   Boston, MA 02114


   Mass Dept Of Revenue
   100 Cambridge St Fl 2
   Boston, MA 02114-2509


   Massachusetts Department of Revenue
   200 Arlington St
   Chelsea, MA 02150-2375


   Massachusetts Department of Revenue
   Bankruptcy Unit
   PO Box 9564
   Boston, MA 02108-9564


   Massachusetts Department of Revenue
   BankruptcyUnit
   PO Box 9564
   Boston, MA 02114-9564
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   Massachusetts Department of Revenue
   PO Box 9564
   Boston, MA 02114-9564


   Massachusetts Department of Revenue
   PO Box 9565
   Boston, MA 02114-9565


   Massachusetts Dept. of Revenue
   PO Box 7090
   Boston, MA 02204-7090


   Mercantile Adjustment Bureau
   PO Box 9054
   Williamsville, NY 14231-9054


   Merrick Garland
   Attorney General U.S. Department of Just
   950 Pennsylvania Ave NW
   Washington, DC 20530-0009


   Milford Regional
   14 Prospect Street
   Milford, MA 01757


   Mitchell J. Levine
   Nair & Levin, P.C.
   707 Bloomfield Ave
   Bloomfield, CT 06002-2406
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   National Grid
   Po Box 11737
   Newark, NJ 07101-4737


   National Grid
   300 Erie Blvd W
   Syracuse, NY 13202-4201


   National Grid
   Po Box 960
   Northborough, MA       01532-0960


   National Grid Electric
   548 Haydenville Rd
   Leeds, MA 01053-9754


   Nissan-Infiniti Lt
   2901 Kinwest Pkwy
   Irving, TX 75063-5816


   NStar
   One NSTAR Way, SW200
   Westwood, MA 02090


   Orion Portfolio Services LLC
   PO Box 41021
   Norfolk, VA 23541-1021
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   Orion Portfolio Services LLC
   c/o PRA Receivables Management, LLC
   PO Box 41021
   Norfolk, VA 23541-1021


   petro
   1182 River St
   Woonsocket, RI       02895-1825


   Petro Holdings, Inc. dba Petro Heat
   PO Box 422
   Warren, RI 02885-0422


   Petro Holdings, Inc. dba Petro Heat
   c/o Law Office of John A. DeSano, Jr., P
   PO Box 422
   Warren, RI 02885-0422


   PORTFOLIO RECOVERY ASSOCIATES, LLC
   PO Box 41067
   Norfolk, VA 23541-1067


   Santander bank
   Scott Powell. CEO
   824 N Market St Ste 100
   Wilmington, DE 19801-4937


   Santander Bank NA
   15 Westminster St
   Providence, RI 02903-2437
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   Santander Bank NA
   1130 Berkshire Blvd
   Wyomissing, PA 19610-1242


   Santander Bank, N.A.
   601 Penn St
   Reading, PA 19601-3544


   Shechtman Halperin Savage
   1080 Main Street
   Pawtucket, RI 02860


   Sovereign Bank
   601 Penn St
   Reading, PA 19601-3544


   Tatyana P. Tabachnik
   Orlans PC
   PO Box 540540
   Waltham, MA 02454-0540


   Town of Blackstone
   15 Saint Paul St
   Blackstone, MA 01504-2212


   Town of Blackstone
   tax / collector
   15 Saint Paul St
   Blackstone, MA 01504-2212
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   Town of Blackstone
   ATTN: Legal Dept
   15 Saint Paul St
   Blackstone, MA 01504-2212


   Town Of Hopedale
   PO Box 23
   Ashland, MA 01721-0023


   U.S. Department of Justice
   950 Pennsylvania Ave NW
   Washington, DC 20530-0009


   Umass Memorial Med Ctr
   55 Lake Ave
   Worcester, MA 01655


   Umass Memorial Medical Centet
   119 Belmont Street
   Worcester, MA 01605


   United States Attorney
   John Joseph Moakley United States Federa
   1 Courthouse Way, Ste 9200
   Boston, MA 02210-3011


   Verizon Wireless
   Po Box 26005
   Minneapolis, MN 55426
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   WPS Systems, Ltd. of New England
   Advance America, Cash Advance
   1700 Diamond Hill Rd Ste B
   Woonsocket, RI 02895-1507
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                                                            B201B (Form 201B) (12/09)
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                                                                                                             United States Bankruptcy Court
                                                                                                      District of Massachusetts, Worcester Division

                                                            IN RE:                                                                                            Case No.
                                                            Monson, David                                                                                     Chapter 13
                                                                                                       Debtor(s)

                                                                                           CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                                                                               UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                                                             Certificate of [Non-Attorney] Bankruptcy Petition Preparer

                                                            I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor the attached
                                                            notice, as required by § 342(b) of the Bankruptcy Code.


                                                            Printed Name and title, if any, of Bankruptcy Petition Preparer                                  Social Security number (If the bankruptcy
                                                            Address:                                                                                         petition preparer is not an individual, state
                                                                                                                                                             the Social Security number of the officer,
                                                                                                                                                             principal, responsible person, or partner of
                                                                                                                                                             the bankruptcy petition preparer.)
                                                                                                                                                             (Required by 11 U.S.C. § 110.)
                                                            X
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                                                            Signature of Bankruptcy Petition Preparer of officer, principal, responsible person, or
                                                            partner whose Social Security number is provided above.

                                                                                                                   Certificate of the Debtor

                                                            I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.



                                                            Monson, David                                                          X /s/ David Monson                                           2/16/2023
                                                            Printed Name(s) of Debtor(s)                                               Signature of Debtor                                            Date


                                                            Case No. (if known)                                                    X
                                                                                                                                       Signature of Joint Debtor (if any)                             Date


                                                            Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

                                                            Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
                                                            NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor’s
                                                            attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on
                                                            page 3 of Form B1 also include this certification.
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF MASSACHUSETTS, WORCESTER DIVISION

Case number (if known)                                                         Chapter you are filing under:
                                                                                Chapter 7
                                                                                Chapter 11
                                                                                Chapter 12
                                                                               Chapter 13                                         Check if this is an
                                                                                                                                    amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                   12/22
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”the answer would
be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between
them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the
forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.


Part 1:    Identify Yourself

                                      About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on        David
     your government-issued           First name                                                     First name
     picture identification (for
     example, your driver's
     license or passport).            Middle name                                                    Middle name
     Bring your picture             Monson
     identification to your meeting
                                    Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)
     with the trustee.




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names and any
     assumed, trade names and
     doing business as names.
     Do NOT list the name of any
     separate legal entity such as
     a corporation, partnership,
     or LLC that is not filing this
     petition.



3.   Only the last 4 digits of
     your Social Security
     number or federal                xxx-xx-0716
     Individual Taxpayer
     Identification number
     (ITIN)



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Debtor 1   Monson, David                                                                             Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

     Your Employer
4.
     Identification Number
     (EIN), if any.
                                 EIN                                                           EIN



5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 231 Mendon St
                                 Blackstone, MA 01504-1227
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Worcester
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it in
                                 above, fill it in here. Note that the court will send any     here. Note that the court will send any notices to this mailing
                                 notices to you at this mailing address.                       address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:
     this district to file for                                                                 Check one:
     bankruptcy                       Over the last 180 days before filing this petition, I
                                       have lived in this district longer than in any other             Over the last 180 days before filing this petition, I have
                                       district.                                                         lived in this district longer than in any other district.

                                      I have another reason.                                           I have another reason.
                                       Explain. (See 28 U.S.C. § 1408.)                                  Explain. (See 28 U.S.C. § 1408.)




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Debtor 1    Monson, David                                                                                  Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the           Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form
     Bankruptcy Code you are      2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                     Chapter 7
                                     Chapter 11
                                     Chapter 12

                                   Chapter 13

8.   How you will pay the fee          I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                        about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’  s check, or money order.
                                        If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with a
                                        pre-printed address.
                                       I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay The
                                        Filing Fee in Installments (Official Form 103A).
                                       I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may, but is
                                        not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that applies to
                                        your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out the Application
                                        to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for            No.
     bankruptcy within the last
     8 years?                     Yes.
                                             District    MA Bankruptcy Court            When      9/01/19                Case number       19-41412
                                             District    MA Bankruptcy                  When     10/11/16                Case number       16-41753
                                             District                                   When                             Case number



10. Are any bankruptcy cases
    pending or being filed by
                                  No
    a spouse who is not filing     Yes.
    this case with you, or by
    a business partner, or by
    an affiliate?
                                             Debtor                                                                     Relationship to you
                                             District                                   When                            Case number, if known
                                             Debtor                                                                     Relationship to you
                                             District                                   When                            Case number, if known



11. Do you rent your
    residence?
                                  No.         Go to line 12.

                                   Yes.       Has your landlord obtained an eviction judgment against you?

                                                       No. Go to line 12.

                                                       Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of this
                                                        bankruptcy petition.




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Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time        No.         Go to Part 4.
    business?
                                      Yes.       Name and location of business
     A sole proprietorship is a
     business you operate as an                   Name of business, if any
     individual, and is not a
     separate legal entity such as
     a corporation, partnership,
     or LLC.
                                                  Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach it
     to this petition.                            Check the appropriate box to describe your business:
                                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                         None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to proceed
    Chapter 11 of the                under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or you are
    Bankruptcy Code, and are         choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations, cash-flow
    you a small business             statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor or a debtor as
    defined by 11 U.S. C. §
    1182(1)?
                                     No.         I am not filing under Chapter 11.

    For a definition of small
    business debtor, see 11           No.        I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
                                                  Code.
    U.S.C. § 101(51D).

                                      Yes.       I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and I do
                                                  not choose to proceed under Subchapter V of Chapter 11.

                                      Yes.       I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and I
                                                  choose to proceed under Subchapter V of Chapter 11.

Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any
    property that poses or is
                                     No.
    alleged to pose a threat of       Yes.
    imminent and identifiable                  What is the hazard?
    hazard to public health or
    safety? Or do you own
    any property that needs                    If immediate attention is
    immediate attention?                       needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,               Where is the property?
     or a building that needs
     urgent repairs?
                                                                               Number, Street, City, State & Zip Code




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Debtor 1    Monson, David                                                                                 Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                             You must check one:
    you have received a
                                      Icounseling
                                           received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about credit                             agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a                this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                      completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment plan,           Attach a copy of the certificate and the payment plan, if any,
     credit counseling before you        if any, that you developed with the agency.                      that you developed with the agency.
     file for bankruptcy. You
     must truthfully check one of       I received a briefing from an approved credit                   I received a briefing from an approved credit
     the following choices. If you       counseling agency within the 180 days before I                   counseling agency within the 180 days before I filed
     cannot do so, you are not           filed this bankruptcy petition, but I do not have a              this bankruptcy petition, but I do not have a certificate
     eligible to file.                   certificate of completion.                                       of completion.

     If you file anyway, the court       Within 14 days after you file this bankruptcy petition,          Within 14 days after you file this bankruptcy petition, you
     can dismiss your case, you          you MUST file a copy of the certificate and payment              MUST file a copy of the certificate and payment plan, if any.
     will lose whatever filing fee       plan, if any.
     you paid, and your creditors
     can begin collection               I certify that I asked for credit counseling                    I certify that I asked for credit counseling services
     activities again.                   services from an approved agency, but was                        from an approved agency, but was unable to obtain
                                         unable to obtain those services during the 7                     those services during the 7 days after I made my
                                         days after I made my request, and exigent                        request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                    temporary waiver of the requirement.
                                         of the requirement.
                                                                                                          To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                      attach a separate sheet explaining what efforts you made to
                                         requirement, attach a separate sheet explaining what             obtain the briefing, why you were unable to obtain it before
                                         efforts you made to obtain the briefing, why you were            you filed for bankruptcy, and what exigent circumstances
                                         unable to obtain it before you filed for bankruptcy, and         required you to file this case.
                                         what exigent circumstances required you to file this
                                         case.                                                            Your case may be dismissed if the court is dissatisfied with
                                                                                                          your reasons for not receiving a briefing before you filed for
                                         Your case may be dismissed if the court is                       bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                        If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must            receive a briefing within 30 days after you file. You must file
                                         still receive a briefing within 30 days after you file.          a certificate from the approved agency, along with a copy of
                                         You must file a certificate from the approved agency,            the payment plan you developed, if any. If you do not do so,
                                         along with a copy of the payment plan you developed,             your case may be dismissed.
                                         if any. If you do not do so, your case may be
                                                                                                          Any extension of the 30-day deadline is granted only for
                                         dismissed.
                                                                                                          cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted only
                                         for cause and is limited to a maximum of 15 days.
                                        I am not required to receive a briefing about                   I am not required to receive a briefing about credit
                                         credit counseling because of:                                    counseling because of:

                                               Incapacity.                                                   Incapacity.
                                                I have a mental illness or a mental deficiency                 I have a mental illness or a mental deficiency that
                                                that makes me incapable of realizing or making                 makes me incapable of realizing or making rational
                                                rational decisions about finances.                             decisions about finances.

                                               Disability.                                                   Disability.
                                                My physical disability causes me to be unable                  My physical disability causes me to be unable to
                                                to participate in a briefing in person, by phone,              participate in a briefing in person, by phone, or through
                                                or through the internet, even after I reasonably               the internet, even after I reasonably tried to do so.
                                                tried to do so.

                                               Active duty.                                                  Active duty.
                                                I am currently on active military duty in a                    I am currently on active military duty in a military
                                                military combat zone.                                          combat zone.
                                         If you believe you are not required to receive a briefing        If you believe you are not required to receive a briefing about
                                         about credit counseling, you must file a motion for              credit counseling, you must file a motion for waiver of credit
                                         waiver credit counseling with the court.                         counseling with the court.




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Debtor 1    Monson, David                                                                                    Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do          16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C.§ 101(8) as “
                                                                                                                                         incurred by an
    you have?                                individual primarily for a personal, family, or household purpose.”
                                              No. Go to line 16b.
                                             Yes. Go to line 17.
                                   16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                             for a business or investment or through the operation of the business or investment.
                                              No. Go to line 16c.
                                              Yes. Go to line 17.
                                   16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under
    Chapter 7?
                                   No.      I am not filing under Chapter 7. Go to line 18.


     Do you estimate that after     Yes.    I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses are
     any exempt property is                  paid that funds will be available to distribute to unsecured creditors?
     excluded and
     administrative expenses                  No
     are paid that funds will be
     available for distribution               Yes
     to unsecured creditors?

18. How many Creditors do          1-49                                             1,000-5,000                                 25,001-50,000
    you estimate that you                                                            5001-10,000                                 50,001-100,000
    owe?                            50-99
                                    100-199                                         10,001-25,000                               More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                              $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
    be worth?
                                   $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

20. How much do you                 $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your liabilities to    $50,001 - $100,000                              $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
    be?
                                   $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

Part 7:    Sign Below

For you                            I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                   If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                   States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                   If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                   have obtained and read the notice required by 11 U.S.C. § 342(b).

                                   I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                   I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy
                                   case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
                                   /s/ David Monson
                                   David Monson                                                       Signature of Debtor 2
                                   Signature of Debtor 1

                                   Executed on      February 16, 2023                                 Executed on
                                                    MM / DD / YYYY                                                     MM / DD / YYYY




Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 6
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Debtor 1   Monson, David                                                                                     Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed under
represented by one              Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter for which the
                                person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in
If you are not represented by   which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the schedules filed with the
an attorney, you do not need    petition is incorrect.
to file this page.
                                /s/ Mr. Robert W. Kovacs Jr.                                          Date         February 16, 2023
                                Signature of Attorney for Debtor                                                   MM / DD / YYYY

                                Mr. Robert W. Kovacs Jr.
                                Printed name

                                Kovacs Law, P.C.
                                Firm name


                                131 Lincoln St
                                Worcester, MA 01605-2408
                                Number, Street, City, State & ZIP Code

                                Contact phone    (508) 926-8833                                 Email address         robert@kovacslawfirm.com
                                671497 MA
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 7
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                                               Certificate Number: 12459-MA-CC-037189321


                                                             12459-MA-CC-037189321




                    CERTIFICATE OF COUNSELING

I CERTIFY that on February 16, 2023, at 2:49 o'clock PM PST, David Monson
received from Abacus Credit Counseling, an agency approved pursuant to 11
U.S.C. 111 to provide credit counseling in the District of Massachusetts, an
individual [or group] briefing that complied with the provisions of 11 U.S.C.
109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   February 16, 2023                      By:      /s/Adriana Jimenez


                                               Name: Adriana Jimenez


                                               Title:   Credit Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).
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      Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $78   administrative fee

        Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “ incurred by an individual                                                   $338      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their non-exempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions
                                                                                          exist for particular debts, and liens on property may
        Chapter 7 - Liquidation                                                           still be enforced after discharge. For example, a
                                                                                          creditor may have the right to foreclose a home
        Chapter 11 - Reorganization                                                       mortgage or repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                    page 1

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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you
 have enough income to repay creditors a certain                                          Exemptions are not automatic. To exempt property,
 amount. You must file Chapter 7 Statement of Your                                        you must list it on Schedule C: The Property You Claim
 Current Monthly Income (Official Form 122A –1) if you                                    as Exempt (Official Form 106C). If you do not list the
 are an individual filing for bankruptcy under chapter 7.                                 property, the trustee may sell it and pay all of the
 This form will determine your current monthly income                                     proceeds to your creditors.
 and compare whether your income is more than the
 median income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $571    administrative fee
 Calculation (Official Form 122A –2). The calculations
                                                                                                      $1,738    total fee
 on the form— sometimes called the Means
 Test—deduct from your income living expenses and
                                                                                          Chapter 11 is often used for reorganizing a business,
 payments on certain debts to determine any amount
                                                                                          but is also available to individuals. The provisions of
 available to pay unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                         page 2

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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a
             mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
             and following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up
             to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200       filing fee                                                  years or 5 years, depending on your income and other
 +                  $78       administrative fee                                          factors.
                   $278       total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that
 and fishermen to repay their debts over a period of time                                 are not discharged and that you may still be
 using future earnings and to discharge some debts that                                   responsible to pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235       filing fee                                                         debts for fraud or defalcation while acting in a
 +                  $78       administrative fee                                                 fiduciary capacity,
                   $313       total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.



Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                        page 3

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                                                                                          A married couple may file a bankruptcy case
              Warning: File Your Forms on Time                                            together—called a joint case. If you file a joint case
                                                                                          and each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information
 within the deadlines set by the Bankruptcy Code, the                                     Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/forms/bankruptcy-forms                                           agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                                          case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
 Bankruptcy crimes have serious consequences                                              days before you file your bankruptcy petition. This
                                                                                          briefing is usually conducted by telephone or on the
        If you knowingly and fraudulently conceal assets                                  Internet.
        or make a false oath or statement under penalty
        of perjury—either orally or in writing—in                                         In addition, after filing a bankruptcy case, you
        connection with a bankruptcy case, you may be                                     generally must complete a financial management
        fined, imprisoned, or both.                                                       instructional course before you can receive a
                                                                                          discharge. If you are filing a joint case, both spouses
        All information you supply in connection with a                                   must complete the course.
        bankruptcy case is subject to examination by the
        Attorney General acting through the Office of the                                 You can obtain the list of agencies approved to provide
        U.S. Trustee, the Office of the U.S. Attorney, and                                both the briefing and the instructional course from:
        other offices and employees of the U.S.                                           http://www.uscourts.gov/services-forms/bankruptcy/cre
        Department of Justice.                                                            dit-counseling-and-debtor-education-courses.

 Make sure the court has your mailing address                                             In Alabama and North Carolina, go to:
                                                                                          http://www.uscourts.gov/services-forms/bankruptcy/cre
 The bankruptcy court sends notices to the mailing                                        dit-counseling-and-debtor-education-courses.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 4

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                                      UNITED STATES BANKRUPTCY COURT
                                      District of Massachusetts, Worcester Division
In re
Monson, David
                                                                              Case No:
                                                                              Chapter 13

                                                                   Debtor

                       DECLARATION RE: ELECTRONIC FILING (MA - LOCAL FORM)

PART I- DECLARATION

         I[We] Monson, David              and             , hereby declare(s) under penalty of perjury that all of the
information contained in my                                         (singly or jointly the "Document"), filed electronically, is
true and correct. I understand that this DECLARATION is to be filed with the Clerk of Court electronically concurrently
with the electronic filing of the Document. I understand that failure to file this DECLARATION may cause the Document
to be struck and any request contained or relying thereon to be denied, without further notice.

         I further understand that, pursuant to the Massachusetts Electronic Filing Local Rule (MEFR) 7( b), all paper
documents containing original signatures executed under the penalties of perjury and filed electronically with the Court are
the property of the bankruptcy estate and shall be maintained by the authorized CM/ECF Registered User for a period of
five (5) years after the closing of this case.

Dated: February 16, 2023




                                                                 (Affiant)



                                                                 (Joint Affiant)

PART II - DECLARATION OF ATTORNEY (IF AFFIANT IS REPRESENTED BY COUNSEL)

         I certify that the affiant(s) signed this form before I submitted the Document, I gave the affiant(s) a copy of the
Document and this DECLARATION, and I have followed all other electronic filing requirements currently established by
local rule and standing order. This DECLARATION is based on all information of which I have knowledge and my
signature below constitutes my certification of the foregoing under Fed. R. Bankr. P. 9011. I have reviewed and will comply
with the provisions of MEFR 7.



                                                                 Signed:
                                                                 (Attorney for Affiant)
                                                                 Mr. Robert W. Kovacs Jr. 671497 MA
                                                                 Kovacs Law, P.C.
                                                                 131 Lincoln St
                                                                 Worcester, MA 01605-2408
                                                                 (508) 926-8833
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OLF 8 (Official Local Form 8)


                                                 ​nited States Bankruptcy Court
                                                 U
                                          District of Massachusetts, Worcester Division

 IN RE:                                                                                         Case No.
 Monson, David                                                                                  Chapter 13
          Debtor(s)



     ACKNOWLEDGMENT BY DEBTOR(S) AND ATTORNEY FOR DEBTOR(S) OF RESPONSIBILITIES IN
                                  CHAPTER 13 CASES


It is important for both the chapter 13 debtor(s) and the attorney for the chapter 13 debtor(s) to understand their responsibilities. To
foster such understanding, the following provisions set forth responsibilities for a successful completion of a chapter 13 case. This
Acknowledgment of these responsibilities is not the written agreement required by MLBR Appendix 1, Rule 13-7(c). Please be sure
that the debtor(s) and attorney have also executed such an agreement.

The parties acknowledge by their signatures below that they have read and that they understand the following provisions.


BEFORE THE CASE IS FILED

The DEBTOR(S) agrees to:

1)       Discuss with your attorney your objective in commencing your chapter 13 case after considering filing a case under chapter
         7 or chapter 11 and inform your attorney of any imminent deadlines.

2)       Provide your attorney with documentary evidence of your income from all sources and the value of assets in which you have
         an interest, together with a copy of any declaration of homestead, as well as proof of insurance on any real property or
         automobiles in which you have an interest, a copy of your last federal tax return, and any other documents that your attorney
         believes that the trustee might reasonably request in order to assess whether your proposed chapter 13 plan should be
         confirmed.

3)       Promptly respond to all communications from your attorney.

4)       Cooperate with your attorney in preparing all required bankruptcy forms and other required documents.

5)       Obtain a Certification of Credit Counseling.

6)       Review all drafts of documents and promptly advise your attorney of any corrections or additions that may be required
         before signing the petition, schedules, and chapter 13 plan.

The DEBTOR(S) understands the following and that the Debtor(s) will:

1)       Meet in person with your attorney to review your debts, assets, income, and expenses, as well as your objectives in
         commencing a chapter 13 case.

2)       Be provided with a fully executed copy of an Engagement Letter or Fee Agreement.

3)       Be advised of the requirements for obtaining a credit counseling certificate before the case is filed and the necessity of
         completing the financial management course in order to obtain a discharge.

4)       Be required to provide documentation about household income, including pay advices and tax returns, and be advised about
         the on-going need to both timely file tax returns and pay post-petition taxes.

5)       Be required to provide documents to your attorney such as deeds, mortgages, tax returns, paystubs, and/or other information
         that may be needed for your attorney to timely prepare, review, and file the petition, statements, schedules, and chapter 13
         plan.
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6)      Sign your petition and chapter 13 plan and other documents requiring your signature after verifying with your attorney that
        the information is consistent with documentation provided (redacted where appropriate of all personal identifiable
        information).

7)      Be advised how, when, and where to make the chapter 13 plan payments to the trustee, and, if applicable under the chapter
        13 plan, be advised of the obligation to continue making direct payments to secured creditor(s), without interruption, and
        the likely consequences for failure to do so.

8)      Be made aware of the requirement to attend the 11 U.S.C. § 341 meeting of creditors and the consequences of failing to
        appear.

9)      Be required to maintain current and sufficient property and liability insurance if you own any real estate, automobiles, or
        other valuable personal or business assets.

10)     Be aware that some claims will accrue interest after the case is filed and others may not be discharged upon completion of
        the chapter 13 plan, such as student loans.


AFTER THE CASE IS FILED:

The DEBTOR(S) agrees to:

1)      Inform your attorney of any changes to your address, telephone number, or other contact information.

2)      Timely make chapter 13 plan payments to the trustee as instructed by your attorney or the trustee.

3)      Timely make payments directly to secured creditor(s) pursuant to your chapter 13 plan, if applicable.

4)      Inform your attorney promptly if any of the following circumstances arise:

        a)       you lose your job or have other financial problems (your attorney may be able to have the chapter 13 plan payments
                 reduced or suspended in those circumstances);

        b)       you are sued or are contemplating filing a lawsuit or settling a pending lawsuit;

        c)       you want to buy, sell, or refinance any real or personal property;

        d)       you need to borrow money (e.g., to replace a vehicle);

        e)       you receive a tax refund, bonus, or other unexpected funds;

        f)       you have suffered a loss with respect to any property (e.g., automobile accident, house fire); and

        g)       you experience other circumstances that may require modification of your chapter 13 plan, such as a divorce or the
                 death of a co-debtor spouse;

5)      Complete the required instructional course in personal financial management.

6)      If you have a domestic support obligation, advise your attorney of your payment obligations and the contact information for
        the recipient of the domestic support obligation, and be aware that you must make all required payments to be eligible for a
        discharge.

7)      Understand that your attorney cannot guarantee the outcome of your chapter 13 case and understand that the Court might
        make a ruling adverse to your perceived interests.

8)      Comply with all orders of the Bankruptcy Court.

The ATTORNEY understands that services to be delivered include the obligation to:

1)      Provide legal services as necessary for the administration of the case consistent with MLBR 9010-2 and MLBR Appendix 1,
        Rule 13-6, and all other applicable federal and local rules of bankruptcy procedure.
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2)       Appear at the 11 U.S.C. § 341 meeting of creditors with the debtor(s) and inform the debtor(s) as to the date, time, and
         place of any meeting(s) of creditors.

3)       Where appropriate, prepare, file, and serve motions and notices of hearings in connection with assisting the debtor(s) in
         achieving the goals of the chapter 13, such as filing modified chapter 13 plan(s), amended schedules and statements,
         motions to extend or impose the automatic stay, motions for turnover of repossessed property necessary for an effective
         reorganization, motions to avoid judicial liens on real or personal property, motions to deem a mortgage current,
         applications s to engage brokers, appraisers or special counsel, and motions for authority to sell property or incur debt.

4)       Review claims filed in the case, object to improper or invalid claims, or file surrogate claims, if warranted, based upon
         documentation provided by the debtor, and review and address Notices of Mortgage Payment Change, Notices of Fees,
         Expenses, and Charges, and Responses to Notices of Final Cure.

5)       Respond to reasonable inquiries to assist the debtor(s) in achieving the objectives of the chapter 13 case.

6)       When required, prepare, file, and serve an Application(s) for Compensation.

         The attorney and the debtor(s) acknowledge that (i) they have clearly stated in writing the fees to be charged for
representing the debtor(s) in the chapter 13 case, (ii) neither the “ no look”fee set forth in MLBR 13-7(e) nor any other amount paid
by, or on behalf of the debtor(s) for services to be rendered in connection with a chapter 13 case, shall be considered to be a “    flat fee”
if reasonable fees incurred by the attorney for the debtor(s) for services actually rendered prior to or after the filing of the petition do
not exceed compensation paid by or on behalf of the debtor(s), (iii) the debtor(s) may be entitled to a refund of some or all fees paid
or retainer given under certain circumstances in the event that services rendered are not consistent with the time and labor expended,
the novelty and difficulty of the questions involved, and/or the skill requisite to perform the services efficiently and in accordance
with applicable rules and law, and (iv) the debtor(s) is entitled to seek review by the Court of the reasonableness of any fees or
expenses.

         The signatures below reflect that the debtor(s) understands the responsibilities set forth above and that the attorney for the
debtor(s) acknowledges responsibility to comply with all applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, and
the Local Bankruptcy Rules of the United States Bankruptcy Court for the District of Massachusetts, including the responsibilities set
forth above. By signing below, the parties acknowledge that they have read and understand the foregoing provisions. The debtor(s)
additionally acknowledges receiving an executed copy of this form.


Debtor: /s/ David Monson             Date: February 16, 2023


Joint Debtor:               Date:


Signature of Attorney for the Debtor(s): /s/ Mr. Robert W. Kovacs Jr.                Date: February 16, 2023
